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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, ET AL.,               )
                                     )
            Plaintiffs,              )
                                     )     CIVIL ACTION
vs.                                  )
                                     )     FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                  )
ET AL.,                              )
                                     )
            Defendants.              )

        RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

      Pursuant to Local Rule 5.4, the undersigned hereby certifies that that on

September 22, 2020, Plaintiffs Coalition for Good Governance, William Digges

III, Laura Digges, Ricardo Davis and Megan Misset (“Coalition Plaintiffs”) by

and through counsel of record, served a true and correct copy of the following

discovery requests – Coalition Plaintiffs’ Notice of Rule 34 Request for

Expedited Inspection and Copying to Defendant Fulton Board of

Registrations and Elections - on counsel of record by electronic delivery of a

PDF version to the following:

Kaye Woodard Burwell                      Bryan P. Tyson
David Lowman                              Jonathan D. Crumly
Cheryl Ringer                             Diane Festin LaRoss
Fulton County Attorney’s Office           James A. Balli
       Case 1:17-cv-02989-AT Document 914 Filed 09/22/20 Page 2 of 5




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This 22nd day of September 2020.

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                             Digges, Ricardo Davis, and Megan Missett




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                     CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing document has been prepared in accordance
with the font type and margin requirements of LR 5.1, using font type of Times New
Roman and a point size of 14.

                                             /s/ Cary Ichter
                                             Cary Ichter
                                             Georgia Bar No. 382515




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               IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,                 )
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             Plaintiffs,               )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE NO. 1:17-CV-2989-AT
BRAD RAFFENSPERGER,                    )
ET AL.,                                )
                                       )
             Defendants.               )


                           CERTIFICATE OF SERVICE

     I hereby certify that on September 22, 2020, I filed a copy of the foregoing
RULE 5.4 CERTIFICATE, with the Clerk of Court using the CM/ECF system,
which will automatically send notification of such filing to all attorneys of record.

                                               /s/ Cary Ichter
                                               Cary Ichter
                                               Georgia Bar No. 382515




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